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AO 245B       (Rev. 09/08) Judgment in a Criminal Case                                                                     FILED
                                                                                                                    EAsrM~SN. DISTRICT COuRT
              Sheet 1                                                                                                         DISTRICT ARKANSA


                                                                                                                        NOV 2 '7 2012
                                          UNITED STATES DISTRICT COURJJi:MEs
                                                          Eastern District of Arkansas                      By: --~~~~iL~~~D~E~P~C~LE_R__K
                                                                           )
              UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                      ANTONIO RATTLER                                      )
                                                                           )      Case Number: 4:11 cr00209-24 JMM
                          a/k/a Sam
                                                                           )      USM Number: 26622-009
                                                                           )
                                                                           )      Joseph Robert Perry
                                                                                  Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)            1 of Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
 21 USC §§ 846 and                 Conspiracy to Possess with Intent to Distribute and                       10/31/2011                   1

 841(a)(1) and (b)(1)(C)           Distribute a Controlled Substance



       The defendant is sentenced as provided in pages 2 through           ~-6~~ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~Count(s)        63 & 64                                 D is     ~are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenuant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           11/27/2012
                                                                          Date oflmposition of Judgment




                                                                           James M. Moody                               US District Judge
                                                                          Name of Judge                                Title of Judge


                                                                           11/27/2012
                                                                          Date
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AO 2458     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                 Judgment- Page ~--'2~- of   6
DEFENDANT: ANTONIO RATTLER a/k/a Sam
CASE NUMBER: 4:11cr00209-24 JMM


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 EIGHTEEN (18) MONTHS




    ~ The court makes the following recommendations to the Bureau of Prisons:

 The defendant shall participate in non-residential substance abuse treatment.
 The sentence imposed should run concurrent to any sentence imposed in Case #CR-2011-212, in Circuit Court of Phillips
 County, Arkansas. The defendant shall serve his term of imprisonment in Forrest City, Arkansas, to be near his family.

   r;1 The defendant is remanded to the custody of the United States Marshal.
   D The defendant shall surrender to the United States Marshal for this district:
          D at      ~-----------------
                                                     D a.m.    D p.m.    on

          D as notified by the United States Marshal.

   D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                     to

a ~----------------------------~ , with a certified copy of this judgment.



                                                                                             UNITED STATES MARSHAL



                                                                        By ----------~==~~==~~~~==~----------­
                                                                                    DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 - Supervised Release

                                                                                                           Judgment-Page      3     of         6
DEFENDANT: ANTONIO RATTLER a/kla Sam
CASE NUMBER: 4:11cr00209-24 JMM
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 THREE (3) YEARS

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D      as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D      The defendant shall participate in an approvedprogram for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any 2ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the d!!f~ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permissiOn of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or rersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3C- Supervised Release

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                                                                                         Judgment-Page _ _               6
DEFENDANT: ANTONIO RATTLER a/k/a Sam
CASE NUMBER: 4:11cr00209-24 JMM

                                        SPECIAL CONDITIONS OF SUPERVISION
 1) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
 shall abstain from the use of alcohol throughout the course of supervision.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties

                                                                                                         Judgment- Page   ----'5=----   of   6
DEFENDANT: ANTONIO RATTLER a/k/a Sam
CASE NUMBER: 4:11 cr00209-24 JMM
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                             Fine                               Restitution
TOTALS            $ 100.00                                               $ 0.00                             $ 0.00


 D The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proJJortioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664li), all nonfederal victims must be paid
     before the United States is pa1d.

Name of Payee                                                           Total Loss*           Restitution Ordered         Priority or Percentage




TOTALS                              $                            0.00                        0.00
                                                                               $-------------- ---


D     Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the              D fine      D restitution.
      D the interest requirement for the             D   fine    D restitution is modified as follows:


*Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113AofTitle 18 for offenses committed on or after
September 13, 1994, but before April23, 1996.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                              Judgment- Page        6      of          6
DEFENDANT: ANTONIO RATTLER a/k/a Sam
CASE NUMBER: 4:11cr00209-24 JMM


                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri{ Lump sum payment of$ _1_00_._0_0_ _ __ due immediately, balance due
           0     not later than                                     , or
           0     in accordance           0    C,      0    D,   0     E, or    0 Fbelow; or
B     0    Payment to begin immediately (may be combined with                 oc,        0 D, or      0 F below); or
C     0    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

0    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
